






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00688-CV






Fredia M. Alexander, Appellant


v.


Allan A. Alexander, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NO. 252,369-B, HONORABLE MARTHA TRUDO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N




		Appellee Allan A. Alexander has filed a motion to stay these appellate proceedings.
Alexander currently serves in the United States military and asks this Court to stay the appeal for at
least ninety days pursuant to section 522 of the Servicemembers Civil Relief Act.  See 50 U.S.C.A.
App. § 522(b) (West Supp. 2012).  The Act provides that a servicemember is entitled to a mandatory
stay of civil judicial proceedings for a period of not less than ninety days when his or her application
for stay meets certain conditions.  See id.  The motion filed by Alexander meets these conditions,
and accordingly, we grant the motion and abate this appeal until April 25, 2013.  But see id. § 522(d)
(providing that servicemember granted stay under section 502(b) may apply for additional stay).  In
addition, we extend the deadline for filing appellee's brief to May 28, 2013.





						__________________________________________

						Scott K. Field, Justice

Before Chief Justice Jones, Justices Goodwin and Field

Abated

Filed:   January 25, 2013


